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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION

     SOVEREIGN PEAK VENTURES, LLC,                 §
                                                   §
                   Plaintiff,                      §
                                                   §
     v.                                            §    Case No. 2:21-cv-00006-JRG-RSP
                                                   §
     TCL TECHNOLOGY GROUP                          §
     CORPORATION et al,                            §
                                                   §
                   Defendant.                      §


                                               ORDER

           Before the Court is the Joint Agreed Motion to Extend the Time to Answer or Otherwise

    Plead in Response to Plaintiff’s Complaint and Waiver of Foreign Service Requirement

    (“Motion”), filed by Plaintiff Sovereign Peak Ventures, LLC (“Plaintiff”) and Defendants TCL

    Technology Group Corporation, TCL Industries Holdings Co., Ltd., TCL Electronics Holdings
.
    Ltd., TCL Communication Technology Holdings Ltd., Huizhou TCL Mobile Communication Co.

    Ltd., TCT Mobile Worldwide Ltd., TCT Mobile International Ltd., Shenzen TCL New

    Technologies Co. Ltd., TCL King Electrical Appliances (Huizhou) Co. Ltd., TCL Moka

    International Ltd., and TCL Moka Manufacturing S.A. DE C.V. (collectively, the “Defendants”).

    Dkt. No. 21.

           After considering the request and waiver, the Court GRANTS the Motion. It is therefore

    ORDERED that the deadline for the Defendants to move, answer, or otherwise respond to the

    Plaintiff’s Complaint is extended to and includes May 19, 2021.
            SIGNED this 3rd day of January, 2012.
          SIGNED this 11th day of February, 2021.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
